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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

Gerard A. Powell, Vincent Trapasso, and
Christopher Dyj ak,

Plaintiffs,
v.

My Choice Medical Holdings, Inc., Case NO_ 08_€\,_2511

Defendant.

 

MY CHOICE MEDICAL HOLDINGS, INC.’S
ANSWER TO COMPLAINT AND AFFIRMATIVE DEFENSES

Defendant, My Choice Medical Holdings, Inc. (“My Choice Medical”), hereby responds

to the complaint of Gerard A. PoWell, Vincent Trapasso, and Christopher Dyj ak (“Plaintiffs”) as

follows:
CIVIL ACTION
l. Admitted upon information and belief
2. Admitted upon information and belief.
3. Admitted upon information and belief.
4. Admitted in part and denied in part. My Choice Medical admits that it is a

Delaware corporation and that it regularly does business Within Montgomery County,
Pennsylvania. The remaining allegations of Paragraph 4 are denied. By Way of further answer,

My Choice Medical’s principal place of business is located in Alpharetta, Georgia.

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5. Admitted in part and denied in part. My Choice Medical admits that on or about
December 22, 2004, each of the Plaintiffs entered into an Employment Agreement With My
Choice Medical Acquisition Sub, Inc., the predecessor to My Choice Medical. These
Employment Agreements speak for themselves and, therefore, My Choice Medical denies
Plaintiffs’ characterizations of the Employment Agreements.

6. Admitted in part and denied in part. My Choice Medical admits that on or about
July l, 2007, each of the Plaintiffs entered into an Agreement With My Choice Medical, Which
amended each of Plaintiffs’ December 22, 2004 Employment Agreements. These Agreements
speak for themselves and, therefore, My Choice Medical denies Plaintiffs’ characterizations of
the Agreements.

7. Admitted.

8. Denied. My Choice Medical denies Plaintiffs’ characterization of the
Employment Agreements, as amended. The documents speak for themselves

9. Admitted.

l(). Denied. My Choice Medical denies Plaintiffs’ characterizations of the
Agreements. The documents speak for themselves

ll. Denied. By Way of further answer, on or about May 2007, Johnson discussed

discontinuing the F2 loans with Plaintiff Powell and Powell agreed.

12. Denied.
13. Denied.
l4. Denied.

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15. Admitted in part and denied in part. lt is admitted that, on or about July 9, 2007,
My Choice Medical resumed making F2 loans and that Johnson discussed the decision to resume
making F2 loans with Plaintiff Powell. By way of further answer, Johnson and Powell agreed
that My Choice Medical would resume making the FZ loans. The remaining allegations of
Paragraph 15 call for legal conclusions to which no response is required. To the extent a
response to the remaining allegations is required, they are denied.

l6. Admitted in part and denied in part. lt is admitted that the FZS were shut down for

approximately two months. The remaining allegations of Paragraph 16 are denied.

l7. Denied.

18. Admitted in part and denied in part. My Choice Medical admits that Plaintiffs
have demanded bonuses from My Choice Medical, that the threshold was not met, and that the

bonuses have not been paid. The remaining allegations in Paragraph 18 are denied.

19. Denied.
20. Denied.
21. Denied. The allegations in Paragraph 21 call for legal conclusions to which no

response is required, To the extent a response is required, the allegations are denied.

22. Denied. The allegations in Paragraph 22 call for legal conclusions to which no
response is required, To the extent a response is required, the allegations are denied.

23. Denied. The allegations in Paragraph 23 call for legal conclusions to which no
response is required. To the extent a response is required, the allegations are denied.

24. Admitted in part and denied in part. My Choice Medical admits that Plaintiffs

have demanded bonuses from My Choice Medical and that the bonuses have not been paid. The

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remaining allegations of Paragraph 24 are denied. By way of further answer, the threshold was
not met and therefore Plaintiffs were not entitled to the bonuses.

25. Denied. The allegations of Paragraph 25 call for legal conclusions to which no
response is required,

26. Denied. The allegations of Paragraph 26 call for legal conclusions to which no
response is required.

27. Denied. The allegations of Paragraph 27 call for legal conclusions to which no
response is required,

28. Denied. The allegations of Paragraph 28 call for legal conclusions to which no
response is required,

29. Denied. The Employment Agreements speak for themselves and, therefore, My
Choice Medical denies Plaintiffs’ characterizations of the Employment Agreements.

30. Denied. The Employment Agreements speak for themselves and, therefore, My
Choice Medical denies Plaintiffs’ characterizations of the Employment Agreements.

31. Denied. By way of the further answer, Plaintiffs’ Employment Agreements speak
for themselves and, therefore, My Choice Medical denies Plaintiffs’ characterization of the
Employment Agreements.

32. Denied. The Employment Agreements Speak for themselves and, therefore, My
Choice Medical denies Plaintiii`fs’ characterizations of the Employment Agreements.

33. Denied. The allegations in Paragraph 33 call for legal conclusions to which no

response is required. To the extent a response is required, the allegations are denied.

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34. Denied. The allegations in Paragraph 34 call for legal conclusions to Which no
response is required, To the extent a response is required, the allegations are denied.

35. Denied. The allegations in Paragraph 35 call for legal conclusions to which no
response is required, To the extent a response is required, the allegations are denied.

36. Denied. The allegations in Paragraph 36 call for legal conclusions to which no

response is required. To the extent a response is required, the allegations are denied.

AFFIRMATIVE DEFENSES
FIRST AFFIRMATIVE DEFENSE
Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have failed to state a
claim upon which relief can be granted
SECOND AFFIRMATIVE DEFENSE
Plaintiffs’ claims are barred, in whole or in part, because My Choice Medical did not
breach the Employment Agreements.
THIRD AFFIRMATIVE DEFENSE
Plaintiffs claims are barred because the decisions to discontinue and then resume the F2s
were privileged, made in good faith, and legitimate business decisions
FOURTH AFFIRMATIVE DEFENSE
Plaintiffs’ claims are barred, in whole or in part, pursuant to the statute of frauds and/or
the parol evidence rule.

FIFTH AFFIRMATIVE DEFENSE

Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrines of unclean

hands, laches, and estoppel.

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SIXTH AFFIRMATIVE DEFENSE

Plaintiffs’ claims are barred, in whole or in part, because My Choice Medical is entitled
to set-off amounts owed to My Choice Medical by Plaintiffs against amounts allegedly owed to
Plaintiffs under the Employment Agreements.

SEVENTH AFFIRMATIVE DEFENSE
Plaintiffs’ claims are barred, in whole or in part, by the doctrine of unj ust enrichment
ADDITIONAL AFFIRMATIVE DEFENSES

My Choice Medical hereby gives notice that it intends to rely upon such other and further
defenses as may become available or apparent during pretrial proceedings in this case and hereby
reserves all rights to assert such defenses.

WHEREFORE, My Choice Medical Holdings, Inc. respectfully requests that judgment
be entered in its favor against Plaintiffs, together with all costs, attomeys’ fees, and such other

relief as the Court deems just.

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Attorneys for Defendant My Choice Medical
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CERTIFICATE OF SERVICE
l hereby certify that l have on this 30th day of May, 2008, caused a true and correct copy
of the foregoing to be served upon the following via U.S. Mail, postage prepaid:

Gilbert B. Abramson, Esq

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Attomey for Plaintiffs

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/ Michael Doluisio

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